Case 2:06-mj-00026-GGH Document 2 Filed 01/23/06. Page 1 of 1

UNITED STATES DISTRICT COURT FOR THE F i LE D

EASTERN DISTRICT OF CALIFORN

  

 

UNITED STATES OF AMERICA, )
)
Plaintiff, ) MAG. 06-
)
v. )
) DETENTION GRDER
HERBERT DERUNGS, ) (Violation of Pretrial Release,
) Probation or Supervised Release)
Defendant. )
)

 

O After a hearing pursuant to 18 U.S.C. § 3148 (violation of pretrial release order), the court
finds :
ere is probable cause to believe the person has committed a federal,
state or local crime while on release and defendant has not rebutted the
presumption that his release will endanger another or the community or
OU there is clear and convincing evidence that defendant has violated
another condition of release and
C based on the factors set forth in 18 U.S.C. § 3142(g) there is no condition
or combination of conditions of release that will assure that the defendant
will not flee or pose a danger to the safety of another person or the
community or
CJ the person is unlikely to abide by any condition or combination of
conditions of release. F.R.Cr.P. 32.1(a)(D), 46(c), 18 U.S.C. § 3148,

fter a hearing pursuant to F.R.Cr.P, 32.1(a)(6) and 46(c) and 18 U.S.C, § 3143
(violation of probation or supervised release) the court finds there is probable cause to
believe defendant has violated a condition of probation or supervised release and
defendant has not met his burden of establishing by clear and convincing evidence that
he will not flee or pose a danger to another person or to the community. 18 U.5.C. §
3143.

IT IS ORDERED that pursuant to 18 U.8.C. § 3142(i)(2)-(4) defendant is committed to the custody
of the Attorney General for confinement in a corrections facility separate, to the extent practicable, from
persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall be
afforded reasonable opportunity for private consultation with his counsel. Upon further order of a court of
the United States or request of an attorney for the United States the person in charge of the corrections facility
in which defendant is confined shall deliver defendant to a United States Marshal for purpose of an appearance

in connection with a court proceeding. .
“REGO bho LLOWS

UNITED STATES MAGISTRATE JUDGE

DATED:

 

Cj Court/Original 01.8. Attorney O Defense Counsel O Pretrial Services
